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                          IN THE UNITED STATES DISTWCT COURT| j
                       FOR THE EASTERN DISTRICT OF VIRGINIA|
                                     Newport News Division                   i

 EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION,

                       Plaintiff,
                V.                                                   Civil Action No.4:17cvll3


 HUNTINGTONINGALLS,INC.,

                       Defendant.


                                      OPINION & ORDER


        This matter is before the Court on Defendant, Huntington Ingalls, Inc.'s ("Defendant's"

 or "the Shipyard's") Motion for Summary Judgment. Doc. 23("MSJ"). This matter also comes

 before the Court on the Equal Employment Opportunity Commission's ("Plaintiffs" or

 "EEOC's") Motion to Strike Defendant's Expert Witnesses ("Motion to Strike"), Doc. 32. A

 hearing on these matters was held on October 31, 2018. For the reasons stated below, the Court

 DENIES Plaintiffs Motion to Strike and GRANTS Defendant's Motion for Summary

 Judgment.

                     I.      FACTUAL AND PROCEDURAL HISTORY


        On September 13, 2017, the EEOC filed its complaint against the Shipyard alleging that

 the Shipyard violated § 102 of the Americans with Disabilities Act. Doc. 1 ("CompL"). In 2013,

 Stanley Dowdle ("Dowdle") applied to work for the Shipyard as a temporary leased laborer in

 the position of "pipefitter." Id, After applying, Dowdle was offered conditional employment

 pending his completion of a post-offer medical examination, which included a hearing test. Doc.

 24 at 7-8; Doc. 24-4("Dowdle Dep.") at 7. Dowdle suffers from hearing loss, and wears hearing

 aids on a daily basis to assist him in hearing. Compl. 1|13. At the hearing test, Dowdle asked for

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 the ability to use his hearing aids, but was advised that he had to perform the test without his

 hearing aids. Doc. 24 at 9; Dowdle Dep. at 52, 55. After reviewing Dowdle's hearing test

 results, the Shipyard denied Dowdle employment as a leased laborer, advising that Dowdle's

 hearing fell below the minimum hearing standard. Doc, 24 at 9; Doc. 24-9("Denial E-mail").

        On January 16, 2018, this Court entered a 16(b) scheduling order ("Scheduling Order"),

 which required the parties to identify expert witnesses who will provide potential Rule 702, 703,

 or 705 evidence by July 6, 2018. Doc. 8. The Scheduling Order also required disclosures

 outlined in Rule 26(a)(2)(B)("expert reports") to be made on August 6, 2018. Id On July 6,

 2018, Defendant provided its expert witness disclosure identifying three potential expert

 witnesses: Hellen Dennie ("Dennie"), Kent Shoemaker ("Shoemaker"), and Drucilla Branche

 ("Branche"). Doc. 30 at 3. On August 6, 2018, Defendant failed to provide an expert report for

 any of the potential expert witnesses. Doc. 30 at 4. On August 15, 2018, Plaintiff contacted

 Defendant to determine whether Defendant intended to provide an expert report for any of its

 identified experts. Doc. 30 at 3. Defendant responded by providing an amended disclosure for

 Dennie and Branche. Doc. 30 at 4; S^ Doc. 30-5 ("Am. Disci."). The amended disclosure

 contained the following summaries regarding Dennie and Branche's testimonies:

        [Dennie] [m]ay provide expert testimony regarding Defendant's hearing test
        requirements, hearing conservation program, and minimum hearing requirements as job
        related and consistent with business necessity; may provide expert testimony regarding
        Dowdle as a direct threat of harm to himself and/or others; may provide expert testimony
        regarding the inexistence ofa reasonable accommodation for Dowdle's hearing loss.

        [Branche] [m]ay provide expert testimony regarding minimum hearing requirements as
        job related and consistent with business necessity; may provide expert testimony
        regarding Dowdle as a direct threat of harm to himself and/or others; may provide expert
        testimony regarding the safety hazards of accommodations in the shipyard for workers
        with hearing loss.

 Doc. 30 at 4-5; Am. Disci, at 2-3.
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        On September 28, 2018, Defendant filed its Motion for Summary Judgment. Doc. 23.

 On October 11, 2018, Plaintiff filed its opposition to Defendant's Motion for Summary

 Judgement. Doc. 31. On October 12, 2018, Plaintiff filed a Motion to Strike the testimony of

 Branche and Dennie. Doc. 32. On October 18, 2018, Defendant filed a reply in support of its

 Motion for Summary Judgment. Doc. 37. On October 24, 2018, Defendant filed a Motion in

 Limine. Doc. 38. On October 25, 2018, Defendant filed its opposition to Plaintiffs Motion to

 Strike. Doc. 40. On October 30, 2018, Plaintiff filed a reply in support of its Motion to Strike.

 Doc. 44. Both Plaintiffs Motion to Strike and Defendant's Motion for Summary Judgment are

 now ripe for review.

                                  III.   LEGAL STANDARDS

 A.     Motion to Strike


        Federal Rule of Civil Procedure 37(c) provides that "if a party fails to provide

 information...as required by Rule 26(a)... the party is not allowed to use that information ... to

 supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

 justified or harmless." Fed. R. Civ. P. 37(c)(1). Under Fourth Circuit precedent:

        In exercising its broad discretion to determine whether a nondisclosure of
        evidence is substantially justified or harmless for purposes of a Rule 37(c)(1)
        exclusion analysis, a district court should be guided by the following factors:(1)
        the surprise to the party against whom the evidence would be offered; (2) the
        ability of that party to cure the surprise; (3) the extent to which allowing the
        evidence would disrupt the trial; (4) the importance of the evidence; and (5) the
        nondisclosing party's explanation for its failure to disclose the evidence.

 S. States Rack And Fixture. Inc. v. Sherwin-Williams Co.. 318 F.3d 592, 597(4th Cir. 2003).

 B.     Motion for Summary Judgment

        Summary judgment under Rule 56 is appropriate only when the court, viewing the record

 as a whole and in the light most favorable to the nonmoving party, determines that no genuine
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 issue of material fact exists and that the moving party is entitled to judgment as a matter of law.

 Fed. R. Civ. P. 56; see, e.g.. Celotex Corp. v. Catrett. 477 U.S. 317, 322-24(1986); Anderson v.

 Libertv Lobbv. Inc.. 477 U.S. 242, 248-50 (1986); Terry's Floor Fashions v. Burlington Indus..

 763 F.2d 604, 610 (4th Cir. 1985). Once a party has properly filed a motion for summary

 judgment, the nonmoving party may not rest upon mere allegations in the pleadings but must

 instead set forth specific facts illustrating genuine issues for trial. Celotex. 477 U.S. at 322-24.

 Such facts must be presented in the form of exhibits and sworn affidavits. Failure to rebut the

 motion with such evidence will result in summary judgment when appropriate. "[T]he plain

 language of Rule 56(c) mandates the entry ofsummary judgment... against a party who fails to

 make a showing sufficient to establish the existence of an element essential to that party's case,

 and on which that party will bear the burden of proof at trial." Id. at 322.

          A mere scintilla of evidence is insufficient to withstand a motion for summary judgment.

 Rather, the evidence must be such that the factfinder reasonably could find for the nonmoving

 party.      Anderson. 477 U.S. at 252. Although the court must draw all justifiable inferences in

 favor of the nonmoving party, in order to successfully defeat a motion for summary judgment, a

 nonmoving party cannot rely on "mere belief or conjecture, or the allegations and denials

 contained in his pleadings." Dovie v. Sentrv Ins.. 877 F. Supp. 1002, 1005 (E.D. Va. 1995)

 (citing Celotex. 477 U.S. at 324).

                                        IV.     ANALYSIS

 A.       Motion to Strike


          Plaintiff argues that the testimony of Defendant's witnesses Dennie and Branche should

 be excluded because Defendant did not provide the disclosures required under Federal Rules of

 Civil Procedure 26(a)(2)(B) and 26(a)(2)(C). Doc. 30 at 1. For the reasons stated below, the
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 Court FINDS that Defendant was not required to provide an expert report under Rule

 26(a)(2)(B), that the disclosures provided by Defendant were adequate under Rule 26(a)(2)(C),

 and, even if Defendant's expert disclosures were deficient, such deficiencies were cured when

 Defendant made its experts available for deposition well in advance oftrial.

        Federal Rule of Civil Procedure 26(a)(2)(A) requires a party to disclose the identity of

 any witness it may use at trial to present evidence under Federal Rules of Civil Procedure 702,

 703, and 705 ("expert testimony"). Fed. R. Civ. P. 26(a)(2)(A). When an expert witness is "one

 retained or specially employed to provide expert testimony in the case or whose duties as the

 party's employee regularly involve giving expert testimony" the disclosing party must

 additionally provide an expert report for the expert witness. Fed. R. Civ. P. 26(a)(2)(B). The

 report must contain:

        (i) a complete statement of all opinions the witness will express and the basis and reasons
        for them;
        (ii) the facts or data considered by the witness in forming them;
        (iii) any exhibits that will be used to summarize or support them;
        (iv)the witness's qualifications, including a list of all publications authored in the
        previous 10 years;
        (v)a list of all other cases in which, during the previous 4 years, the witness testified as
        an expert at trial or by deposition; and
        (vi)a statement ofthe compensation to be paid for the study and testimony in the case.

 Id. If a witness is not required to provide an expert report, the witness must nevertheless provide

 a disclosure ofthe subject matter on which the witness is expected to present expert evidence and

 "a summary of the facts and opinions to which the witness is expected to testify." Id Therefore,

 to determine whether an expert report is required under Rule 26(a)(2)(B) or Rule 26(a)(2)(C), the

 Court must determine first whether the witness testifying is offering expert testimony. If the

 witness is offering expert testimony, then the Court must secondarily determine whether an

 expert report under Rule 26(a)(2)(B) or a summary of facts and opinions under 26(a)(2)(C) is
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 required. Thirdly, the Court must determine whether the disclosures provided meet the standards

 set forth in Rules 26(a)(2)(B) and 26(a)(2)(C).

        Plaintiff complains that the deposition testimony of Defendant's experts Dennie and

 Branche "stray[s] well beyond the realm of a Rule 26(a)(2)(C) witness." Doc. 30 at 5.

 Therefore, Plaintiff contends that it should have been provided with an expert report for Dennie

 and Branche. Defendant argues that, even assuming arguendo that Dennie and Branche proffer

 "expert testimony" Defendant was not required to provide expert reports for Dennie or Branche,

 because they were not "retained or specially employed" for the purpose of litigation. Doc. 40 at

 9-10, n. 6(citing Va. Elec. & Power Co. v. Sun Shinbldg. & Drv Dock Co.. 68 F.R.D. 397, 407-

 08 (E.D. Va. 1975) (distinguishing between an expert employed for purposes of the specific

 litigation as opposed to an employee who "though [he] be an expert... his contact with the case

 is not in his capacity as an impartial observer, but is instead as one going about his duties as a

 loyal employee.")).

        Dennie is Defendant's 30(b)(6) witness who was designated to offer testimony regarding

 the Shipyard's minimum hearing standard. Doc. 40 at 4. Dennie testified that she had personal

 knowledge that the minimum hearing standard was in effect at the time that Dowdle was denied

 employment. Id;^ Doc. 40-1 ("Dennie 30(b)(6) Dep.") at 5-6.             Defendant contends that

 Dennie makes her expert opinions based on her knowledge from working at the Shipyard and

 dealing with the hearing of employees at the Shipyard, including those who perform pipefitting

 work. Doc. 40 at 7-8.

        Likewise, Defendant contends that Branche based her expert opinion regarding the

 minimum hearing requirements and their relation to the safety and health of employees on over

 25 years of employment with the Shipyard, her personal interaction with the Shipyard's hearing
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 conservation program, her personal knowledge of the pipefitter position, and her personal

 experience designating high noise environments. Id at 5-6;     Doc. 40-2("Branche Dep.").

        Based on Dennie and Branche's personal experience with the health and safety standards

 of the shipyard and the hearing requirements. Defendant contends that 26(a)(2)(B) expert reports

 were not required. Further, Defendant argues that the disclosures that it provided to Plaintiff

 meet the requirements of 26(a)(2)(C).

        In reply. Plaintiff argues that Defendant's experts should have provided expert reports

 because neither of the experts personally examined Dowdle. Therefore, their opinions are based,

 in part, on hypotheticals regarding a person with Dowdle's level of hearing impairment and not

 based on their personal observations or treatment of Dowdle's hearing. Doc. 44 at 4. Plaintiff

 also argues that the disclosures provided by Defendant were inadequate to satisfy Rule

 26(a)(2)(C).

        The Court FINDS that expert reports under Rule 26(a)(2)(B) were not required given the

 nature of Dennie and Branche's testimony. Neither Dennie nor Branche were retained or

 specially employed by Defendant to testify regarding matters related to the litigation. Both

 Dennie and Branche are employed with Newport News Shipbuilding and are familiar vvdth the

 minimum hearing standards through their employment with Newport News Shipbuilding.

 Although Dennie was not employed at the time that Dowdle's application was rejected, Dennie

 became aware of the minimum hearing standard through her employment at Newport News

 Shipbuilding and was even involved in revising that standard after she became employed with

 Newport News Shipbuilding.

        Similarly, Branche based her testimony about the nature of the noise environments at

 Newport News Shipbuilding on her personal experience working in health and safety at Newport
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 News Shipbuilding. Therefore, Defendant was not required to provide expert reports for Dennie

 and Branche.


        Upon review of the disclosures provided by Defendant, the Court also FINDS that

 Defendant's disclosures are sufficient to satisfy Rule 26(a)(2)(C).       Defendant adequately

 summarized Dennie and Branche's testimony in a manner that would have allowed Plaintiff to

 prepare its discovery and any rebuttal experts accordingly. Further, even if an expert report was

 required under Rule 26(a)(2)(B) or the Rule 26(b)(2)(C) disclosures were deficient, the Court

 would not exclude the testimony of Dennie and Branche, because any such failure was harmless

 as it was cured by Plaintiffs thorough deposition of Dennie and Branche, which was obtained

 more than a month before trial. Therefore, for the reasons explained above, the Court DENIES

 Plaintiffs Motion to Strike.

 B.     Motion for Summary Judgment

        Plaintiff alleges that Defendant discriminated against Dowdle based on his hearing

 disability in two ways:(1) by failing to hire Dowdle when Dowdle was qualified to work as a

 pipefitter; and (2) by failing to accommodate Dowdle by not allowing him to use his hearing aids

 during the hearing test. Compl.     26-52. The Shipyard argues that this Court should grant its

 motion for summary judgment for four reasons: (1) the Shipyard was not Dowdle's employer;

 (2) the EEOC cannot establish the elements of its failure to hire and failure to accommodate

 claims; (3) the Shipyard's hearing standards are job-related and consistent with business

 necessity; and (4) Dowdle would have constituted a direct threat of harm to himself and others.

 Doc. 24 at 6. For the reasons stated below, the Court FINDS that Defendant would have been

 considered Dowdle's employer for purposes ofthe ADA,but the Court also FINDS that Plaintiff
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 has failed to establish the elements of its failure to hire and failure to accommodate claims.

 Therefore, the Court GRANTS Defendant's Motion for Summary Judgment.



                                          i.       Factual Background

          Defendant enters into contracts with third-party employers, such as Caliper, Inc.

 ("Caliper" or "Supplier"), to provide Defendant with leased laborers for the Newport News

 Shipyard. Doc. 24 at 7; Doc. 24-1 (Contract). The Shipyard is a very fluid environment that is

 constantly undergoing construction. Doc. 24 at 10. As such, the Shipyard regularly utilizes a

 variety of safety alarms, including emergency alarms such as fire alarms, and toxic gas alarms, as

 well as alarms from specific pieces of equipment, including cranes, trucks, and forklifts, on a

 regular basis. Doc. 24 at 8. In particular, the sirens for particular pieces of equipment generally

 sound at a level of 50dB or 55dB at frequencies between lOOOHz and 2000Hz', the intensity of

 which lessens as a person is farther away from the direct source of the siren. Doc. 24 at 8; Doc.

 24-7 at 6-7. In addition to the sound of alarms and sirens, at any given moment employees may

 be required to respond to verbal communications that sound over speaker systems as well as

 verbal warnings from their fellow employees. Doc. 24 at 8; Doc. 24-2 at 11-12; Doc. 24-5; Doc.

 24-7 at 5-6.


          Due to the many hazards and risks at the Shipyard, the Shipyard requires that both its

 direct employees and leased laborers have the "unaided aural acuity to hear and respond to

 audible alarms for personal safety and the safety of others." Doc. 24 at 8;                    Docs. 24-5, 31-7

 ("Minimum Hearing Standards"). While candidates for direct employment with the Shipyard


 'A "decibel" or"dB" is a unit used to measure the intensity of a sound, or in other terms, the loudness ofthe sound.
 Doc. 28 at 4, n. 2. The sound's "frequency" or "Hertz(Hz)" describes the number of waves that pass a fixed place
 in a given amount oftime. This is commonly referred to as the pitch ofthe sound. Doc. 28 at 4, n. 3.
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  ("direct employees") have their hearing exam performed by the Shipyard, leased laborers obtain

  outside hearing exams and those exams are then provided to the Shipyard for review. Doc. 24-5.

  In 2013, the Shipyard utilized a minimum hearing standard of lOOdB at frequencies of 500Hz,

  lOOOHz, 2000Hz, and SOOOHz.^ Doc. 24 at 9. In 2014, this standard was raised to 160dB at

  frequencies of 3000Hz, 4000Hz, 6000Hz, and 8000Hz. Id                            While the 2014 standard is in

  writing, the standard that was in place in 2013 was only communicated orally.^ Doc. 31-1 at 50.

           One of the positions at the Shipyard is that of a pipefitter. Pipefitters often work in close

  proximity to various other types of employees, such as welders, machinists, and metal

  mechanics, and their work environment is constantly changing. Doc. 24 at 10; Doc. 24-2.

  Pipefitters also utilize tools, such as grinders, to perform their work, and pipefitters regularly, but

  do not always, work in or around "high noise'"* environments. Ex. 24-2 at 21-23. In such

  environments, the Occupational Health and Safety Administration("OSHA")requires employers

  to administer a "hearing conservation program" to ensure that employees wear personal

  protective equipment to protect their hearing from further damage. Doc. 24 at 11, n. 6;                                29

  C.F.R. § 1910.95. In regard to wearing hearing aids in high noise environments, OSHA

  guidance provides:

           Some hearing-impaired workers who wear hearing aids want to be able to continue to
           wear hearing aids in their workplaces even when exposed to high levels of noise. They
           feel that with the hearing aid they can communicate better with co-workers, are able to
           better localize sound, and can hear warning or equipment sounds. Hearing aids, however,
           in addition to amplifying sounds also amplify unwanted background noise [4]. As
           demonstrated in both laboratory and site measurements, noise amplified by hearing aids
           may exceed the OSHA 8-hour permissible limit of 90 dBA . . . Consequently, hearing
           aids should not be worn in areas with hazardous noise.

  ^ The standard evaluates the candidate's cumulative deficit at the four different frequencies, i.e., a candidate who
  could only hear a sound if it was greater than 25 dB at the four frequencies would have a cumulative(>25x4) deficit
  of greater than lOOdB at the four frequencies. A higher cumulative deficit indicates poorer hearing.
'The Shipyard could not provide testimony as to when the standard was put in place, however it is undisputed that
  the lOOdB standard was applied to evaluate Dowdle's hearing test in 2013. Doc. 31-1 at 26-29.
  ^ The term "high noise" is used to refer to areas where noise exposure equals or exceeds an 8-hour time-weighted
  average sound level of 85 decibels. Doc. 24 at 11, n. 6.

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  Doc. 24-10(2005 OSHA guidance) at 4. The OSHA guidance also provides that exceptions can

  be made for individuals to wear their hearing aids under their protective equipment; however,

  these cases are to be evaluated on a case-by-case basis and should be monitored by the hearing

  conservation professional to ensure no further change in hearing occurs. Id         Defendant's

  contract with Caliper placed on Caliper the responsibility to comply with "any and all applicable

  local, state and federal employment law requirements relating to its Contract Labor personnel,"

  including the responsibility to comply with OSHA's hearing conservation plan for the leased

  laborers. Doc. 24-1 at 4; Doc. 24-6 at 22.

         In 2013, Dowdle applied to work a as a pipefitter for Defendant through a temporary

  staffing agency. National Inspection & Consultants ("NIC"). Doc. 24 at 7. NIC referred

  Dowdle's application to Caliper, who in turn referred Dowdle to Defendant as a pipefitter

  candidate. Id Dowdle, who has suffered from hearing loss since he was 18 years old, had

  previously worked as a pipefitter at Newport News Shipbuilding between 2002 and 2006. Doc.

  24-6. However, since 2012, Dowdle has worn hearing aids in both ears. Doc. 24-4 at 4. His

  hearing aids assist him to better communicate with others. Id

         Before the preliminary hearing test was performed, Dowdle asked to use his hearing aids,

  but his request was denied. Doc. 24 at 8. The testing provider advised that the test was to

  evaluate Dowdle's unaided hearing. Doc. 24-4 at 8. Dowdle's unaided hearing results for his

  left ear were




                                   Doc. 28-1. For his right ear, Dowdle's results were




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                                Id. Thus, Dowdle's cumulative hearing loss for both ears greatly

  exceeded the minimum standards. Id. After Dowdle's hearing test results were reviewed by the

  Senior Safety Technician, she determined that Dowdle's hearing was too poor for Dowdle to be

  hired as a leased laborer pipefitter. Doc. 24 at 9. Dowdle attempted to make further contact with

  Defendant in order to be tested with his hearing aids or to be allowed to work as a pipefitter

  without his hearing aids, but his request was denied. Doc. 31-1 at 31; Doc. 31-6.

                a.       Whether the Shipyard was Dowdle's "Employer" Under the ADA

           Defendant argues that it would not have been Dowdle's employer if Dowdle had been

  hired because, had Dowdle been hired, he solely would have been an employee of Caliper or

  NIC, but not Defendant. Doc. 24 at 15. Therefore, as no employer-employee relationship would

  have existed, Defendant contends that it cannot be held liable under the ADA. Id

          The ADA provides, in relevant part, that no "covered entitv shall discriminate against a

  qualified individual on the basis of disability in regard to...hiring." 42 U.S.C. § 12112(a)

 (emphasis added).          "A 'covered entity' means an employer, employment agency, labor

  organization or joint labor-management committee." 42 U.S.C. § 12111(2).

           A person can have multiple or joint "employers."^ Butler v. Drive Auto. Indus, of Am..

  Inc.. 793 F.3d 404,408 (4th Cir. 2015). "The basis for the finding that two companies are 'joint

  employers' is that 'one employer while contracting in good faith with an otherwise independent



  ^ Both Plaintiff and Defendant rely on Butler, which examined whether an employee can have multiple employers or
  "joint employers" with regard to a discrimination claim under Title VII. The Fourth Circuit has yet to apply Butler
  within the context of an ADA case. However, the definition of"employer" under title VII is the same as under the
  ADA,therefore the same analysis would likely apply in this case. Compare Butler, 793 F.3d at 408("Title VII of
  the Civil Rights Act of 1964 defines an 'employer' as a 'person engaged in an industry affecting commerce who has
  fifteen or more employees for each working day in each oftwenty or more calendar weeks in the current or
  preceding calendar year, and any agent ofsuch a person.'Id (citing 42 U.S.C.§ 2000e(b)) with 42 U.S.C.A. §
  12111 (defining term "employer" under the ADA to mean "a person engaged in an industry affecting commerce
  who has 15 or more employees for each working day in each of20 or more calendar weeks in the current or
  preceding calendar year, and any agent ofsuch person...").


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  company, has retained for itself sufficient control of the terms and conditions of employment of

  the employees who are employed by the other employer.'" Id To determine whether an

  individual would be jointly employed by two or more entities, the court examines the following

  factors:

         (1)authority to hire and fire the individual;
         (2)day-to-day supervision ofthe individual, including employee discipline;
         (3) whether the putative employer furnishes the equipment used and the place of work;
         (4) possession of and responsibility over the individual's employment records, including
         payroll, insurance, and taxes;
         (5)the length oftime during which the individual has worked for the putative employer;
         (6) whether the putative employer provides the individual with formal or informal
         training;
         (7) whether the individual's duties are akin to a regular employee's duties;
         (8) whether the individual is assigned solely to the putative employer; and
         (9) whether the individual and putative employer intended to enter into an employment
         relationship.

  Butler. 793 F.3d at 414. While none of the Butler factors are dispositive, the Fourth Circuit has

  indicated that the first, second, and third factors are the "most important." Id at 414. However,

  Defendant urges the Court to focus primarily on factors four and nine of the nine factor test.

  Doc. 28 at 16.


         In support of the ninth factor, dealing with the intent of the parties. Defendant highlights

  its labor agreement with Caliper, which provides:

         "[Caliper] including ... its administrative employees and/or Contract Labor assigned to
         Huntington Ingalls, is not an employee . . . of Huntington Ingalls. Nothing in this
         Agreement shall be interpreted or construed as creating or establishing the relationship of
         employer and employee between Huntington Ingalls and [Caliper], including its Contract
         Labor."


  Doc. 28 at 16. In support of the fourth factor, which deals with the responsibility over records.

  Defendant highlights that Caliper has its own "hearing conservation program" for its employees.

  Doc. 28 at 17. This program, as required by OSHA, monitors whether significant hearing loss

  has occurred due to exposure to high noise environments. Id Defendant argues that because

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  Caliper, and not Defendant, has access to Dowdle's medical records in regard to the "hearing

  conservation program" it is unable to perform one of the "key 'employer' functions for Caliper's

  leased employees." Id

         Plaintiff responds by highlighting the first three factors. Doc. 31 at 12. Plaintiff alleges

  that Defendant ultimately hires and fires the leased laborers provided by Caliper, that Defendant

  heavily supervises these leased laborers, and that a leased laborer's work for Defendant is

  performed at the shipyard, with Defendant's tools, and side-by-side with direct employees of

  Defendant. Doc. 31 at 13. Plaintiff also highlights that Defendant




                                                                Doc. 51 at 5 (citing Sealed Ex. C

 ("Caliper Contract"; Sealed Ex. D ("Purchase Order"); and Sealed Ex. E ("Temporary Leased

  Labor Management Policy").

         In support of the fourth factor. Plaintiff argues that portions of the contract demonstrate

  that Defendant was also ultimately in control of the records that Caliper maintained because

  Defendant required Caliper to maintain certain records under their contract. Doc. 31 at 13.

  Additionally, Plaintiff highlights a previous letter that Defendant wrote to the EEOC, which

  asserted:


         When a host employer supervises and controls the day-to-day work of a temporary
         employee...at its facility, OSHA considers the host employer...the temporary employee's

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         supervisor for OSHA purposes. OSHA holds the host employer responsible for the
         temporary employee's occupational health and safety while the temporary employee
         works at the host facility.

  Doc. 31 at 14, n. 8 (citing PI. Dep. Ex. 16).

         Based on the contractual provisions cited by Plaintiff the Court FINDS that the evidence

  shows that Defendant would have been Dowdle's joint employer for purposes of liability under

  the ADA.


                                     vi.     Failure to Hire Claim

          "To establish a claim for disability discrimination under the ADA,a plaintiff must prove

 (1) that she has a disability, (2) that she is a 'qualified individual' for the employment in

  question, and (3) that [her employer] discharged her (or took other adverse employment action)

  because of her disability.'" Jacobs v. N.C. Admin. Office of the Courts. 780 F.3d 562, 572 (4th

  Cir. 2015)(internal quotations omitted). When alleging disparate treatment, an employee can

  show discrimination by using direct or indirect evidence or the burden-shifting standard set forth

  in McDonell Douglas. Jacobs v. N.C. Admin. Office of the Courts. 780 F.3d 562, 572(4th Cir.

  2015) (citing McDonnell Douglas Corp. v. Green. 411 U.S. 792, 802 (1973)). Under the

  McDonnell Douglas burden-shifting framework, an employee must first establish a prima facie

  case of discrimination. 411 U.S. at 802. If the employee establishes a prima facie case of

  discrimination, then the burden of production shifts to the employer to articulate a legitimate,

  nondiscriminatory reason for its employment action. Reeves v. Sanderson Plumbing Products.

  Inc. 530 U.S. 133, 142 (2000). Once the employer meets this burden, the presumption of

  discrimination "drops out of the picture" and an employee must show that the employer's

  explanations were not its true reasons for taking the employment action, but were a pretext for

  discrimination. Reeves. 530 U.S. at 143.




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           In Plaintiffs response to Defendant's Motion for Summary Judgment, Plaintiff chose to

  argue its failure to hire claim under the McDonnell Douglas framework.                              Doc. 31 at 14.

  Defendant contends that Plaintiff cannot meet its burden under the McDonell Douglas

  framework because, even if Plaintiff can show prima facie evidence that Defendant

  discriminated against Dowdle, Plaintiff has not produced any evidence by which a trier of fact

  can conclude that Defendant's non-discriminatory reason for failing to hire Dowdle was

  pretextual. Doc. 37 at 15.

  b.       Prima Facie Evidence of Discrimination

           The ADA prohibits a covered entity from discriminating against a "qualified individual

  on the basis of disability." 42 U.S.C. §12112(a). The term "qualified individual with disability"

  is defined as "an individual who, with or without reasonable accommodation, can perform the

  essential functions of the employment position that such individual holds or desires." 42 U.S.C.

  § 12111(8)(emphasis added). Defendant contends that Plaintiff cannot establish that Dowdle is

  a "qualified individual" with a disability for the purpose of the ADA for two reasons: 1) because

  the ability to hear warning alarms and announcements, and communicate effectively with

  coworkers is an essential function of the pipefitter position and 2) with or without

  accommodation, Dowdle could not hear warning alarms and announcements or communicate

  effectively with coworkers.^ Doc. 28 at 17.

                               1.       Essential Functions ofPipefitter Position

           Essential job functions are those job functions that "bear more than a marginal

  relationship to the job at issue." Tvndall v. National Educ. Centers, Inc. of California. 31 F.3d

  209, 213 (4th Cir. 1994). "In determining what job functions are essential "consideration shall


  ^ For the purpose ofthe Motion for Summary Judgment, Defendant does not contest that Dowdle's hearing
  impairment is a disability. Defendant also concedes that it failed to hire Dowdle in light of his hearing impairment.

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  be given to the employer's judgment as to what functions of a job are essential, and if an

  employer has prepared a written description before advertising or interviewing applicants for the

  job, this description shall be considered evidence ofthe essential functions of the job." Id Other

  factors to consider include "[t]he amount of time spent on the job performing the function ...

  [t]he consequences of not requiring the incumbent to perform the function . .. work experience

  of past incumbents in the job .. 29 C.F.R. § 1630.2.

           Defendant contends that the undisputed facts demonstrate that the ability to hear warning

  alarms, to communicate effectively with coworkers, and to hear announcements are all essential

  functions ofthe pipefitter position. Doc. 28 at 19.

           Plaintiff attempts to dispute the fact that "hearing" is an essential function of the

  pipefitter position by highlighting the fact that neither the job announcement nor the Defendant's

 job description announce a hearing requirement, an industrial hygienist testified that he had

  never seen the minimum audiometric requirement, the audiometric requirements only applied to

  leased laborers and not direct hires. Defendant no longer verifies the audiograms of leased

  laborer employees^, and Defendant "makes no analysis and provides no support for its assertions

  that the ability to hear an alarm or announcement and communicate with co-workers are essential

  functions ofthe pipefitter position."^ Doc. 31 at 17-18.

           The Court FINDS that the facts cited by Plaintiff are insufficient to create a genuine

  dispute as to the material fact that the ability to hear alarms, announcements and communicate

  effectively with coworkers is essential to performing work as a pipefitter at the Shipyard.



  ^ In the cited deposition testimony, the witness indicates that the Shipyard still requests audiograms, but they don't
  "review them at all... unless [they] are auditing them ...the provider is supposed to have an audiogram for them.'
  However,the witness also testified that she is not familiar with whether leased labor individuals have to have a
  minimum audiometric requirement.
'The testimony of Branche and Dennie supports Defendant's assertions that the ability to hear an alarm or
  announcement and communicate with co-workers are essential functions ofthe pipefitter position.

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           In regard to the fact that the job announcement does not "announce a hearing

  requirement", the Court notes that the exhibit cited by Plaintiff does indicate that the Leased

  Labor Provider Company is required to provide documentation for the leased labor candidate,

  including "medical clearances, etc." for review by the Health and Safety Department. Doc. 31-2.

  Further, it is imdisputed that Dowdle's employment was conditioned upon his performance on

  the hearing exam.

           Additionally, the Court notes that Plaintiff mischaracterizes the fact that the "audiometric

  requirement only applied to leased laborers and not direct hires." The record establishes that the

  audiometric requirement applied to both leased laborers and direct hires. As discussed at the

  hearing, the difference with regard to leased laborers and direct hires took place not in whether

  the audiometric requirement applied, but in how Defendant proceeded after determining that a

  candidate performed poorly on the hearing examination. A direct employee candidate's hearing

  exam was further reviewed, whereas a leased labor candidate's hearing exam was not further

  reviewed. As discussed above, the Shipyard's hearing conservation program covered direct

  employees, whereas the conservation of a leased laborer's hearing was not covered by the

  Shipyard. Therefore, while the Shipyard can determine whether a direct employee's hearing has

  worsened after working at the Shipyard, whether a leased laborer's hearing has worsened is

  evaluated by the Supplier. Furthermore, the fact that a direct employee candidate's hearing test

  is further reviewed would not guarantee that the direct employee would be allowed to perform

  shipboard work, as certain candidates' hearing would be too poor to perform shipboard work.^



'In Exhibit J to Plaintiffs Memorandum in Opposition, Plaintiff attaches a letter from 2014 where Defendant
  provided further information regarding its hearing unaided hearing exam requirement. See Doc. 31-10. In the letter,
  Defendant notes "Based on results, restrictions may be placed for an employee assigned to work in a production,
  noise monitored area. The restrictions placed will read 'no blasting, chipping or arcing'. If the loss is greater than a
  moderate loss, >60dB,an additional restriction of'no shipboard work' will be placed." Doc. 31-10 at 2.

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                                      2.       Reasonable Accommodation

           Plaintiff has the burden of proving that an accommodation exists, and that the

  accommodation is reasonable. Lamb v. Oualex. Inc.. 33 Fed. App'x 49, 59 (4th Cir. 2002). If

  Plaintiff meets its burden, then the employer may present evidence that Plaintiffs requested

  accommodation imposes an undue hardship on the employer. W.

           Defendant claims that Dowdle is not able to accommodate his inability to hear using

  hearing aids because OSHA guidance warns that hearing aids, as amplification devices, should

  not be wom in high noise environments. Doc. 28 at 19, n. 12. Plaintiff points to the fact that not

  all environments where a pipefitter works are "necessarily" high noise environments, and

  proposes that it would have been reasonable for Dowdle to wear his hearing aid in a low noise

  environment. Doc. 31 at 10. However, based on the undisputed testimony that the Shipyard

  environment is constantly changing, that pipefitters may still be subjected to high noise activities

  by employees around them, and the fact that OSHA guidance warns about the potential dangers

  of hearing aids to amplify any background noise, the Court FINDS that it would not be a

  reasonable accommodation to for Defendant to attempt to confine Dowdle to low noise areas,

  b.       Legitimate Nondiscriminatory Purpose and Evidence of Pretext

           More importantly, even if such an accommodation would be reasonable. Plaintiffs

  failure to hire claim fails because Plaintiff has not produced any evidence by which a trier offact

  can conclude that Defendant's non-discriminatory reason for failing to hire Dowdle was

  pretextual.'® Doc. 37 at 15. As a legitimate non-discriminatory reason for not permitting Mr.

  Dowdle to work as a pipefitter. Defendant has produced "the requirement that all workers have

  sufficient, unaided aural acuity." Doc. 37 at 13. Defendant contends that because this policy is


    Plaintiff failed to argue any pretextual basis for Defendant's minimum audiometric requirement in its responsive
  brief.

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  "neutral" and "generally applicable," Plaintiff cannot show that Defendant's decision to deny

  Dowdle's employment is motivated by an animus against his disability. Id (citing Ravtheon Co.

  V. Hernandez. 540 U.S. 44, 54-55 (2003)(finding that an employer's proffer of "its neutral no-

  rehire policy plainly satisfied its obligation under . . . McDonnell Douglas to provide a

  legitimate, nondiscriminatory reason")).

         Defendant argues that this Court should grant its Motion for Summary Judgment because

  Plaintiff failed to allege sufficient material facts that dispute Defendant's policy as a pretext for

  discrimination under either the failure to hire or failure to accommodate claims. Doc. 37 at 13;

  See Shaver v. Horrv Ctv. Sch. Dist.. 125 F.3d 848(4th Cir. 1997)(affirming district court's grant

  of summary judgment where plaintiff failed to offer direct evidence that the defendant's

  articulated reasons for not promoting her were pretextual).

         At the hearing. Plaintiff argued that Defendant's failure to provide information regarding

  how it arrived at the underlying hearing requirement is evidence of pretext. In support of its

  argument. Plaintiff cited Hernandez v. Hushes Missiles. 362 F.3d 564 (9th Cir. 2004). In

  Hernandez, the Ninth Circuit concluded that "the jury could infer from the fact that nobody at

  [the company] could identify the origin, history, or scope of[an] alleged unwritten policy, that it

  either did not exist or was not consistently applied." Hernandez. 362 F.3d at 569. The Court

  finds that the circumstances in Hernandez are distinguishable.

         In Hernandez, an employer claimed to have an oral policy which mandated its decision

  not to re-hire an applicant. Hernandez. 362 F.3d at 568. However, there was also other evidence

  which discredited the employer's reliance on the oral policy, as the employer provided

  inconsistent and conflicting explanations for failing to hire the employee. Id This case is




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  distinguishable in that Defendant has consistently referred to the minimum hearing standard (i.e.

  Dowdle's poor hearing) as the basis for denying employment.

         While the record does show that the policy applied differently in one respect to leased

  laborers than it did to direct employees, the Shipyard has provided a legitimate non-

  discriminatory reason for doing so. The Shipyard is able to work with direct employees because

  the Shipyard retains the ability to monitor their direct employees for further damage to direct

  employees' hearing. Further, even under the 2014 standard, someone who has Dowdle's level of

  hearing loss would not be able to perform shipboard work. Therefore, as there is no evidence of

  pretext in the record, the Court FINDS that Plaintiff has failed to establish a claim for failure to

  hire under the McDonnell Douglas framework.

                               V.      Failure to Accommodate Claim

         In order to establish a prima facie case for failure to accommodate, a plaintiff must show:

  "(1) that [he] was an individual who had a disability within the meaning of the statute;(2) that

  the employer had notice of [his] disability;(3) that with reasonable accommodation [he] could

  perform the essential functions of the position; and (4) that the employer refused to make such

  accommodations." Jacobs. 780 F.3d at 579 (4th Cir. 2015)(citing Wilson v. Dollar Gen. Corp..

  717 F.3d 337, 345 (4th Cir. 2013).           Dowdle complains that Defendant should have

  accommodated him by allowing him to use his hearing aids during the hearing test.

         Plaintiff points to an e-mail that Dowdle sent to Defendant where Dowdle requested

  several accommodations. Doc. 31 at 27. First, Dowdle contended that the hearing test was

  simply a "baseline for liability purposes" and he asked to be allowed to sign a liability waiver

  and allow him to test with his hearing aids in. Id Plaintiff contends that such a waiver presents

  a genuine dispute as to whether a reasonable accommodation would have been possible. Id



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  Alternatively, Plaintiff argues that Defendant could have waived the audiometric requirement for

  Dowdle in light of the fact that a "direct hire who had poor results on a baseline audiogram were

  brought in for further consultation." Doc. 31 at 27. Or, that Defendant should have engaged in

  an interactive process with Dowdle prior to denying him the accommodation of using his hearing

  aids during the hearing test. Doc. 31 at 27-28 (citing Wilson v. Dollar Gen. Corp.. 717 F.3d 337,

  346 (4th Cir. 2013)(employer has a good faith duty "to engage [with their employees] in an

  interactive process to identify a reasonable accommodation").

         In opposition. Defendant contends:(1)that the lack of accommodation was performed by

  an outside agency, not Defendant;(2)that Plaintiffs inability to meet the standard of a "qualified

  individual with disability" is dispositive of the failure to accommodate claim, and (3) that

  allowing Mr. Dowdle to wear his hearing aid would have been unreasonable in light of the fact

  that wearing his hearing aid would have "destroy[ed] the very standard—ensuring that workers

  can perform their job safely based on their unaided hearing—^that the test is designed to ensure."

  Doc. 28 at 23 (citing Allmond v. Akal Sec. Inc.. 558 F.3d 1312, 1317-18 (11th Cir. 2009)

  (rejecting a plaintiffs argument that accommodation of wearing his hearing aid was reasonable

  where a ban on hearing aids was considered necessary to the safe and effective performance of

  United States Marshal Service)).

         The Court agrees with the latter argument. Defendant has established that evaluating the

  unaided hearing of a potential employee was essential to its determination of whether an

  employee could safely perform work at the Shipyard. Thus, as Defendant argues, allowing

  Dowdle to use his hearing aids would undermine the very purpose ofthe test.




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   vi.   Job-Related Business Necessity ofHearing Standards and Harm Presented by Dowdle's

                                            Hearing Impairment

         Because the Court FINDS that Plaintiff has failed to establish both its Failure to Hire and

  Failure to Accommodate claims, there is no need to reach the issue of Defendant's affirmative

  defenses.


                                      V.     CONCLUSION

         For the reasons stated above, the Court DENIES Plaintiffs Motion to Strike, Doc. 29,

  and GRANTS Defendant's Motion for Summary Judgment, Doc. 23.

  The Clerk is REQUESTED to send a copy ofthis Order to all counsel of record.

         It is so ORDERED.
                                                                     /s/
                                                      Henry Coke Morgan, Jr.
                                                      Senior United States District Judge\£^
                                                       HENRY COKE MORGAN,JR.              ^     ^
                                              SENIOR UNITED STATES DISTRICT JUDGE

  Norfolk, Virginia
  November -'^ 7,2018




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